            Case 1:21-cr-00697-JEB Document 33 Filed 11/29/21 Page 1 of 1


                              UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF
                                    COLUMBIA


UNITED STATES OF AMERICA                                   CRIMINAL NO.

                                                           MAGISTRATE NO. 21-mj-174
       v.
                                                           VIOLATION:
PAUL WESTOVER,
                                                           40 U.S.C. § 5104(e)(2)(G)
             Defendant.                                    (Parading, Demonstrating, or Picketing
                                                           in a Capitol Building)



                                        INFORMATION

        The United States Attorney charges that:

                                         COUNT ONE


       On or about January 6, 2021, in the District of Columbia, PAUL WESTOVER, did willfully and

knowingly parade, demonstrate, or picket in any of the Capitol Buildings.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C.

       § 5104(e)(2)(G))



                                     MATTHEW GRAVES
                                     United States Attorney
                                     D.C. Bar No. 481052

                                     ________________________
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                                     Trial Attorney – Detailee
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